






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-04-062 CR


____________________



JERRY W. ROBERTSON, JR., Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the 75th District Court


Liberty County, Texas


Trial Cause No. 24280






MEMORANDUM OPINION (1)


	We have before the Court an appeal by Jerry W. Robertson, Jr., from a sentence
pronounced April 17, 2003.  The notice of appeal was filed with the trial court on January
6, 2004, more than ninety days from the date of sentencing.  We notified the parties that
the appeal did not appear to have been timely filed, but received no response.  The Court
finds the notice of appeal was not timely filed.  Tex. R. App. P. 26.2.  No extension of
time was timely requested pursuant to Tex. R. App. P. 26.3.  It does not appear that
appellant obtained an out-of-time appeal.  The Court finds it is without jurisdiction to
entertain this appeal.

	It is, therefore, ORDERED that the appeal of this cause be DISMISSED for want
of jurisdiction.

	APPEAL DISMISSED.

								PER CURIAM

Opinion Delivered May 20, 2004 

Do Not Publish

Before McKeithen, C.J., Burgess and Gaultney, JJ.
1. Tex. R. App. P. 47.4.


